 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF MICHIGAN

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                            Check if this is an
                                                                        Chapter 13
                                                                                                                            amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                         About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Cesarea
     government-issued picture
                                       First Name                                              First Name
     identification (for example,
     your driver's license or          C
     passport).                        Middle Name                                             Middle Name

                                       Wright
     Bring your picture                Last Name                                               Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                              Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                              First Name
     years
                                       Middle Name                                             Middle Name
     Include your married or
     maiden names.
                                       Last Name                                               Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   2        4       7    3    xxx – xx –
     number or federal                 OR                                                      OR
     Individual Taxpayer
     Identification number             9xx – xx –                                              9xx – xx –
     (ITIN)




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Debtor 1     Cesarea C Wright                                                                Case number (if known)

                                    About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                     I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in         Business name                                                Business name
     the last 8 years
                                    Business name                                                Business name
     Include trade names and
     doing business as names
                                    Business name                                                Business name

                                                 –                                                           –
                                    EIN                                                          EIN

                                                 –                                                           –
                                    EIN                                                          EIN
5.   Where you live                                                                              If Debtor 2 lives at a different address:

                                    20992 Chienne Court
                                    Number       Street                                          Number      Street




                                    Macomb Township                 MI       48094
                                    City                            State    ZIP Code            City                           State    ZIP Code

                                    Macomb
                                    County                                                       County

                                    If your mailing address is different from                    If Debtor 2's mailing address is different
                                    the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                    court will send any notices to you at this                   will send any notices to you at this mailing
                                    mailing address.                                             address.



                                    Number       Street                                          Number      Street


                                    P.O. Box                                                     P.O. Box


                                    City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing           Check one:                                                   Check one:
     this district to file for
     bankruptcy                             Over the last 180 days before filing this                   Over the last 180 days before filing this
                                            petition, I have lived in this district longer              petition, I have lived in this district longer
                                            than in any other district.                                 than in any other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the            Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you           for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                 Chapter 7

                                           Chapter 11

                                           Chapter 12

                                           Chapter 13



Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Cesarea C Wright                                                         Case number (if known)

8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 No
     bankruptcy within the
     last 8 years?                      Yes.

                                  District Eastern District of Michigan                   When 05/04/2005         Case number 05-54421
                                                                                                 MM / DD / YYYY
                                  District Eastern District of Michigan                   When 06/29/2017         Case number 17-45709
                                                                                                 MM / DD / YYYY

                                  District                                                When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                  Debtor                                                              Relationship to you
    you, or by a business
    partner, or by an             District                                                When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                  Debtor                                                              Relationship to you

                                  District                                                When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.    Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it as part of this bankruptcy petition.




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Debtor 1     Cesarea C Wright                                                            Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor              No. Go to Part 4.
    of any full- or part-time              Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                 Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                    City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                 Check the appropriate box to describe your business:
    to this petition.
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                           No.   I am not filing under Chapter 11.

                                           No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                 the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                  Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                 No
    property that poses or is              Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                      If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or               Where is the property?
    a building that needs urgent                                             Number   Street
    repairs?



                                                                             City                                    State         ZIP Code




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Debtor 1     Cesarea C Wright                                                            Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Cesarea C Wright                                                            Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you        16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                    as "incurred by an individual primarily for a personal, family, or household purpose."
                                                   No. Go to line 16b.
                                                   Yes. Go to line 17.

                                     16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.

                                     16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                              No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                            No
    are paid that funds will be
                                                       Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                   1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                   50-99                            5,001-10,000                       50,001-100,000
    owe?                                    100-199                          10,001-25,000                      More than 100,000
                                            200-999

19. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                 $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                               $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to            $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                     $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Cesarea C Wright                                                        Case number (if known)


 Part 7:      Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                X /s/ Cesarea C Wright                                      X
                                   Cesarea C Wright, Debtor 1                                   Signature of Debtor 2

                                   Executed on 02/10/2018                                       Executed on
                                               MM / DD / YYYY                                                 MM / DD / YYYY




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1     Cesarea C Wright                                                         Case number (if known)

For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                  relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by     the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need      certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                is incorrect.



                                  X /s/ Kurt Thornbladh                                                 Date 02/10/2018
                                     Signature of Attorney for Debtor                                        MM / DD / YYYY


                                     Kurt Thornbladh
                                     Printed name
                                     Thornbladh Legal Group PLLC
                                     Firm Name
                                     7301 Schaefer
                                     Number          Street




                                     Dearborn                                                   MI              48126
                                     City                                                       State           ZIP Code


                                     Contact phone (313) 943-2678                     Email address kthornbladh@gmail.com, thornbladh.kurt3@g


                                     P25858
                                     Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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 Fill in this information to identify your case and this filing:
 Debtor 1             Cesarea                  C                        Wright
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

 Case number
                                                                                                                                  Check if this is an
 (if known)
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
          No. Go to Part 2.
          Yes. Where is the property?

2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
     entries for pages you have attached for Part 1. Write that number here.............................................................                   $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         No
         Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Chrysler                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    300 Touring
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2010                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 198,000                                At least one of the debtors and another             $3,000.00                               $3,000.00
Other information:
2010 Chrysler 300 Touring (approx.                          Check if this is community property
198000 miles)                                               (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................                $3,000.00




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                                                                       A/B: Property                                               Page 9 of 61             page 1
Debtor 1         Cesarea C Wright                                                                                    Case number (if known)


  Part 3:          Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe............
                                Household Goods, furniture, furnishings, supplies, appliances, utensils, and                                                               $3,000.00
                                     the like, no single item of which is worth more than $475.00.
7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............
                                Personal electronics                                                                                                                         $300.00

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Personal Clothing                                                                                                                            $300.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................      $3,600.00



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                                                                               A/B: Property                                                         Page 10 of 61               page 2
Debtor 1         Cesarea C Wright                                                                                                   Case number (if known)


 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................               $50.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                   Institution name:

            17.1.        Checking account:                     Chief Financial Credit Union                                                                                                                 $541.00
            17.2.        Savings account:                      Chief Financial Credit Union                                                                                                                 $700.00
            17.3.        Other financial account: Security Deposit with landlord                                                                                                                        $1,450.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                           % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.               Type of account:                    Institution name:
                                             401(k) or similar plan: USPS Thrift Savings Account                                                                                                                $0.00
                                             IRA:                                IRA                                                                                                                    $3,723.60




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Official Form 106A/B                           Doc 1              Filed 02/10/18
                                                                             ScheduleEntered    02/10/18 21:13:33
                                                                                      A/B: Property                                                                       Page 11 of 61                           page 3
Debtor 1         Cesarea C Wright                                                                Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................               Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information State: Future Tax Refunds. Amt: $1,500.00                                          Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                     State:               $1,500.00
           and the tax years.....................................
                                                                                                                             Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:

                                                                                                                Maintenance:

                                                                                                                Support:

                                                                                                                Divorce settlement:

                                                                                                                Property settlement:




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                                                                           A/B: Property                                    Page 12 of 61               page 4
Debtor 1         Cesarea C Wright                                                                                    Case number (if known)

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $7,964.60


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................




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                                                                               A/B: Property                                                         Page 13 of 61               page 5
Debtor 1          Cesarea C Wright                                                                                   Case number (if known)

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................




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                                                                               A/B: Property                                                         Page 14 of 61               page 6
Debtor 1           Cesarea C Wright                                                                                           Case number (if known)

51. Any farm- and commercial fishing-related property you did not already list

             No
             Yes. Give specific
             information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................                         $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                           $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                    $3,000.00

57. Part 3: Total personal and household items, line 15                                                               $3,600.00

58. Part 4: Total financial assets, line 36                                                                           $7,964.60

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $14,564.60              property total                 +          $14,564.60


63. Total of all property on Schedule A/B.                                                                                                                                                    $14,564.60
                                                                    Add line 55 + line 62.......................................................................................................




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Official Form 106A/B                          Doc 1             Filed 02/10/18
                                                                           ScheduleEntered    02/10/18 21:13:33
                                                                                    A/B: Property                                                                Page 15 of 61                  page 7
 Fill in this information to identify your case:
 Debtor 1            Cesarea              C                      Wright
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                          $3,000.00                  $3,000.00          11 U.S.C. § 522(d)(3)
Household Goods, furniture, furnishings,                                          100% of fair market
supplies, appliances, utensils, and the like,                                     value, up to any
no single item of which is worth more than                                        applicable statutory
$475.00.                                                                          limit
Line from Schedule A/B:  6

Brief description:                                           $300.00                    $300.00           11 U.S.C. § 522(d)(3)
Personal electronics                                                              100% of fair market
(1st exemption claimed for this asset)                                            value, up to any
Line from Schedule A/B: 7                                                         applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Cesarea C Wright                                                       Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $300.00                    $0.00           11 U.S.C. § 522(d)(5)
Personal electronics                                                         100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 7                                                    applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Personal Clothing                                                            100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           11 U.S.C. § 522(d)(5)
Cash on hand                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $541.00                  $541.00           11 U.S.C. § 522(d)(5)
Chief Financial Credit Union                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $700.00                  $700.00           11 U.S.C. § 522(d)(5)
Chief Financial Credit Union                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,450.00                $1,450.00          11 U.S.C. § 522(d)(5)
Security Deposit with landlord                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(12)
USPS Thrift Savings Account                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,723.60                $3,723.60          11 U.S.C. § 522(n)
IRA                                                                          100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,500.00                $1,500.00          11 U.S.C. § 522(d)(5)
Future Tax Refunds                                                           100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    28
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
           18-41747-pjs          Doc 1     Filed 02/10/18           Entered 02/10/18 21:13:33                 Page 17 of 61
  Fill in this information to identify your case:
  Debtor 1             Cesarea               C                      Wright
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                              $5,600.00               $3,000.00           $2,600.00
Capital One Auto Finance
Creditor's name
                                                 2010 Chrysler 300 Touring
c/o Ascension Capital Group                      (approx. 198000 miles)
Number       Street
POB 201347
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Arlington                TX      76006               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred           2/1/2012        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                $5,600.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                               $5,600.00

          18-41747-pjs
Official Form 106D                   Doc 1Schedule
                                             FiledD:02/10/18
                                                    Creditors Who Entered
                                                                  Have Claims02/10/18
                                                                              Secured by 21:13:33
                                                                                         Property                      Page 18 of 61            page 1
  Fill in this information to identify your case:
  Debtor 1             Cesarea               C                      Wright
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt?        Check one.                   Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




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Official Form 106E/F                Doc 1          Filed 02/10/18
                                                   Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                          Who Have Unsecured 21:13:33                   Page 19 of 61                page 1
Debtor 1       Cesarea C Wright                                                                 Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $674.00
Advance America                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?           February 10, 2017
135 N Church Street
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Spartanburg                     SC      29306
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Pay Day Loans
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $674.00
Advance America                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?           February 10 2017
135 N Church Street
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Spartanburg                     SC      29306
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Payday Loans
Is the claim subject to offset?
     No
     Yes




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Official Form 106E/F                 Doc 1         Filed 02/10/18
                                                   Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                          Who Have Unsecured 21:13:33                     Page 20 of 61               page 2
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

   4.3                                                                                                                             $1,063.41
Allstate Insurance Company                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                        When was the debt incurred?        11/02/2017
P.O. Box 660598
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Dallas                        TX      75266-0598
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Collection
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                              $118.98
American Income Life Insurance Company                  Last 4 digits of account number      9 9 9           2
Nonpriority Creditor's Name
                                                        When was the debt incurred?        12/27/2016
P.O. Box 2608
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Waco                          TX      76797
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                              $633.00
Best Buy/ CBNA                                          Last 4 digits of account number      0 7 5           2
Nonpriority Creditor's Name
                                                        When was the debt incurred?        03/21/2016
PO box 6497
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

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Official Form 106E/F               Doc 1         Filed 02/10/18
                                                 Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                        Who Have Unsecured 21:13:33                Page 21 of 61      page 3
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

   4.6                                                                                                                              $834.76
Capital One Bank USA NA                                 Last 4 digits of account number      5 1 6           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        03/03/2014
PO BOX 30281
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                             $8,800.00
CBCS                                                    Last 4 digits of account number      7 3 7           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        11/29/2016
Dept 5089
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Carol Stream                  IL      60122-6089
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                $0.00
Chase                                                   Last 4 digits of account number       5    9    8    3
Nonpriority Creditor's Name
                                                        When was the debt incurred?
Mail COde OH1-1272
Number        Street                                    As of the date you file, the claim is: Check all that apply.
340 S. Cleveland Ave. Bldg. 370                             Contingent
                                                            Unliquidated
                                                            Disputed
Westerville                   OH      43081
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Bank Charges
Is the claim subject to offset?
     No
     Yes

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Official Form 106E/F               Doc 1         Filed 02/10/18
                                                 Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                        Who Have Unsecured 21:13:33                Page 22 of 61      page 4
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

   4.9                                                                                                                                $0.00
CHIEF PONTIAC FEDERAL CU                                Last 4 digits of account number      0 6 3           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        02/06/2015
790 Joslyn Ave
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Pontiac                       MI      48340-2918
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                $0.00
CHIEF PONTIAC FEDERAL CU                                Last 4 digits of account number      0 6 3           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        97/21/2014
790 Joslyn Ave
Number        Street                                    As of the date you file, the claim is: Check all that apply.
Pontiac, MI 4834-2918                                       Contingent
                                                            Unliquidated
                                                            Disputed

City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                $0.00
CHIEF PONTIAC FEDERAL CU                                Last 4 digits of account number      0 6 2           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        01/28/2014
790 Joslyn Ave
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Pontiac                       MI      48340-2918
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Credit Card
Is the claim subject to offset?
     No
     Yes

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Official Form 106E/F               Doc 1         Filed 02/10/18
                                                 Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                        Who Have Unsecured 21:13:33                Page 23 of 61      page 5
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.12                                                                                                                               $56.00
CHIEF PONTIAC FINANCIAL FEDERAL CU                      Last 4 digits of account number      1 0 4           5
Nonpriority Creditor's Name
                                                        When was the debt incurred?        08/03/2016
790 Joseline Ave
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Pontiac                       MI      48340-2918
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                             $4,677.00
CHRISTIAN FIN CU                                        Last 4 digits of account number      5 2 4           5
Nonpriority Creditor's Name
                                                        When was the debt incurred?        02/08/2016
18441 UTICA RD
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Roseville                     MI      48066-4202
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                             $6,772.00
Christian Financial CU                                  Last 4 digits of account number      0 0 0           8
Nonpriority Creditor's Name
                                                        When was the debt incurred?        04/06/2016
18441 Utica Rd
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Roseville                     MI      48066-4202
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

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Official Form 106E/F               Doc 1         Filed 02/10/18
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                                                                        Who Have Unsecured 21:13:33                Page 24 of 61      page 6
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.15                                                                                                                                $0.00
CHRISTIAN FINANCIAL CU                                  Last 4 digits of account number      0 0 0           8
Nonpriority Creditor's Name
                                                        When was the debt incurred?        04/06/2016
18441 UTICA RD
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Roseville                     MI      48066-4202
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                              $633.00
Citibank                                                Last 4 digits of account number      2 9 3           2
Nonpriority Creditor's Name
                                                        When was the debt incurred?        2/21/2017
P.O. Box 6077
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Notice Only
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                              $490.46
Comcast                                                 Last 4 digits of account number      3 2 4           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        2/28/2017
c/o Credit Management, L.P.
Number        Street                                    As of the date you file, the claim is: Check all that apply.
4200 International Parkway                                  Contingent
                                                            Unliquidated
                                                            Disputed
Carrollton                    TX      75007-1912
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Collecting for -Comcast
Is the claim subject to offset?
     No
     Yes

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Official Form 106E/F               Doc 1         Filed 02/10/18
                                                 Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                        Who Have Unsecured 21:13:33                Page 25 of 61      page 7
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.18                                                                                                                              $653.00
COMENITY BANK / LNBRYANT                                Last 4 digits of account number      2 2 3           3
Nonpriority Creditor's Name
                                                        When was the debt incurred?        03/11/2013
POB 182789
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Columbus                      OH      43218-2789
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                              $616.72
Congress Colletion                                      Last 4 digits of account number      5 3        8    6
Nonpriority Creditor's Name
                                                        When was the debt incurred?        1/9/2017
24901 Northwestern Hwy, Ste 300
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Southfield                    MI      48075-2207
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Collecting for -John Casablancas/Canton-Plymouth
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                              $388.40
Consumer Energy                                         Last 4 digits of account number      1 7        1    1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        3/6/2017
1 Energy Plaza Drive
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Jackson                       MI      49201
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Utilities
Is the claim subject to offset?
     No
     Yes

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                                                                        Who Have Unsecured 21:13:33                Page 26 of 61      page 8
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
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  4.21                                                                                                                              $583.91
Credit Collection                                       Last 4 digits of account number      2 8 9           8
Nonpriority Creditor's Name
                                                        When was the debt incurred?        2/18/2017
725 Canton Street
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Norwood                       MA      02062
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                              $346.97
Credit Collection                                       Last 4 digits of account number      6 9 5           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        2/28/2017
725 Canton Street
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Norwood                       MA      02062
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                             $1,156.00
Credit One Bank                                         Last 4 digits of account number      4 9 8           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        03/24/2014
PO BOX 98872
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Las Vegas                     NV      89193-8872
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

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Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
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  4.24                                                                                                                                $0.00
DIRECT LOAN SVC SYSTEM                                  Last 4 digits of account number      1 1 8           9
Nonpriority Creditor's Name
                                                        When was the debt incurred?        10/13/2008
PO BOX 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Greenville                    TX      75403-5609
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                $0.00
DIRECT LOAN SVC SYSTEM                                  Last 4 digits of account number      1 1 9           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        07/09/2009
PO BOX 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Greenville                    TX      75403-5609
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          SStudent Loan
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                $0.00
DIRECT LOAN SVC SYSTEM                                  Last 4 digits of account number      1 1 9           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        07/01/2010
PO BOX 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Greenville                    TX      75403-5609
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

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                                                                        Who Have Unsecured 21:13:33                Page 28 of 61     page 10
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.27                                                                                                                                $0.00
Direct Loan SVC System                                  Last 4 digits of account number      1 1 9           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        08/27/2011
PO Box 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Greenville                    TX      75403-5609
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                $0.00
Direct Loan SVC System                                  Last 4 digits of account number       1    1    9    0
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Greenville                    TX      75403
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                $0.00
Direct Loan Svc System                                  Last 4 digits of account number      5 1 9           9
Nonpriority Creditor's Name
                                                        When was the debt incurred?        05/17/2012
PO Box 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Greenville                    TX      75403-5609
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

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Official Form 106E/F               Doc 1         Filed 02/10/18
                                                 Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                        Who Have Unsecured 21:13:33                Page 29 of 61     page 11
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.30                                                                                                                                $0.00
Direct Loan SVC systems                                 Last 4 digits of account number      1 1 9           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        10/13/2008
PO Box 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
Greenville, TX 75403 5609                                   Contingent
                                                            Unliquidated
                                                            Disputed

City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                $0.00
Direct Loan SVC Systems                                 Last 4 digits of account number      1 1 9           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        06/11/2009
PO Box 5609
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Greenville                    TX      75403-5609
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                          $65,854.00
FEDLOAN SERVICING                                       Last 4 digits of account number      5 0 6           9
Nonpriority Creditor's Name
                                                        When was the debt incurred?        05/02/2014
POB 60610
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Harrisburg                    PA      17106
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

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                                                                        Who Have Unsecured 21:13:33                Page 30 of 61     page 12
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.33                                                                                                                               $25.00
Fott and Heel Pain Institute of MI                      Last 4 digits of account number      7 4 7           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        10/24/2016
29425 Northwestern Hwy#125
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Southfield                    MI      48034-1083
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Medical
Is the claim subject to offset?
     No
     Yes

  4.34                                                                                                                              $653.33
Lane Bryant                                             Last 4 digits of account number      0 1        9    9
Nonpriority Creditor's Name
                                                        When was the debt incurred?        3/7/2017
P.O. Box 659728
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
San Antonio                   TX      78265-9728
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                              $197.00
Medical Resource Group                                  Last 4 digits of account number      8 2 0           9
Nonpriority Creditor's Name
                                                        When was the debt incurred?        10/13/2017
88 Sunnyside Boulevard
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Plainview                     NY      11803
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Credit Card
Is the claim subject to offset?
     No
     Yes

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Official Form 106E/F               Doc 1         Filed 02/10/18
                                                 Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                        Who Have Unsecured 21:13:33                Page 31 of 61     page 13
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.36                                                                                                                              $480.82
Professional Placement Services, LLC                    Last 4 digits of account number      7 5 6           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        1/24/2012
272 N. 12th Street
Number        Street                                    As of the date you file, the claim is: Check all that apply.
Milwaukee, WI 5323-2604                                     Contingent
                                                            Unliquidated
                                                            Disputed

City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.37                                                                                                                                $0.00
Sallie Mae                                              Last 4 digits of account number      1 0 0           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        09/19/2006
123 Justison St 3d floor
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Wilmington                    DE      19801
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                                $0.00
Sallie Mae                                              Last 4 digits of account number      1 0 0           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        08/08/2006
123 Justison St 3d floor
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Wilmington                    DE      19801
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

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                                                                        Who Have Unsecured 21:13:33                Page 32 of 61     page 14
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.39                                                                                                                             $1,643.77
ST FARM MUTUAL AUTO INS                                 Last 4 digits of account number      4 B 3           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        07/15/2017
One State Farm Plaza
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Bloomington                   IL      61710
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Collection
Is the claim subject to offset?
     No
     Yes

  4.40                                                                                                                              $115.53
ST JOHN HOSPITAL                                        Last 4 digits of account number      6 3 1           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        10/28/2017
PO BOX 42008
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Phoenix                       AZ      85080-2008
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                              $100.00
St. John Hospital                                       Last 4 digits of account number      6 2        1    3
Nonpriority Creditor's Name
                                                        When was the debt incurred?        7/1/2016
22101 Moross
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Detroit                       MI      48236
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Medical Services
Is the claim subject to offset?
     No
     Yes

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                                                                        Who Have Unsecured 21:13:33                Page 33 of 61     page 15
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.42                                                                                                                                $0.00
SYNCB/CARE CREDIT                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                        When was the debt incurred?        03/11/2014
C/O PO BOX 965036
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Orlando                       FL      32896-5036
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.43                                                                                                                                $0.00
SYNCB/OLD NAVY                                          Last 4 digits of account number      1 7 7           0
Nonpriority Creditor's Name
                                                        When was the debt incurred?        03/12/2014
PO BOX 965005
Number        Street                                    As of the date you file, the claim is: Check all that apply.
Orlando, FL 328965-5005                                     Contingent
                                                            Unliquidated
                                                            Disputed

City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

  4.44                                                                                                                              $499.00
The Home Depot/ Cbna                                    Last 4 digits of account number      2 2 8           3
Nonpriority Creditor's Name
                                                        When was the debt incurred?        04/06/2016
PO Box 6497
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Sioux Falls                   SD      57117-6497
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Consumer Credit
Is the claim subject to offset?
     No
     Yes

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                                                                        Who Have Unsecured 21:13:33                Page 34 of 61     page 16
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                               Total claim
previous page.

  4.45                                                                                                                                $0.00
US DEPT. OF EDUCATION/GL                                Last 4 digits of account number      9 2 7           9
Nonpriority Creditor's Name
                                                        When was the debt incurred?        10/13/2008
2401 International
Number        Street                                    As of the date you file, the claim is: Check all that apply.
POB 7859                                                    Contingent
Madison, WI                                                 Unliquidated
                                                            Disputed

City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Student Loan
Is the claim subject to offset?
     No
     Yes

  4.46                                                                                                                              $490.46
xfinity/Comcast                                         Last 4 digits of account number      3 2 4           1
Nonpriority Creditor's Name
                                                        When was the debt incurred?        11/23/2016
41112 Concept Drive
Number        Street                                    As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Plymouth                      MI      48170-4253
City                          State   ZIP Code          Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                           Student loans
   Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                           that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                           Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                           Other. Specify
       Check if this claim is for a community debt          Notice Only
Is the claim subject to offset?
     No
     Yes




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                                                                        Who Have Unsecured 21:13:33                Page 35 of 61     page 17
Debtor 1       Cesarea C Wright                                                           Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Account Services                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1802 N. Loop 410                                            Line   4.41 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
Suite 400                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
San Antonio                     TX      78217
City                            State   ZIP Code


Comcast                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
c/o Credit Management, L.P.                                 Line   4.17 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
P.O. Box 118288                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Carrollton                      TX      75011-8288
City                            State   ZIP Code


Comcast/xfinity                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
One Comcast Center                                          Line   4.46 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Philadelphia                    PA      19103
City                            State   ZIP Code


Consumers Energy Payment Center                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 740309                                             Line   4.20 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Cincinnati                      OH      45274-0309
City                            State   ZIP Code


Credit Collection Service                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
725 Canton st,                                              Line    4.3 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       9    8    1    9
Norwood                         MA      02062
City                            State   ZIP Code




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                                                                      Who Have Unsecured 21:13:33                    Page 36 of 61           page 18
Debtor 1     Cesarea C Wright                                                   Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Detroit Medical Center                            On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3075 E. Imperial Hwy, Ste 200                     Line   4.7 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                  Last 4 digits of account number      2    3    3    4
Brea                      CA      92821
City                      State   ZIP Code


Division of Banking                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 7876                                     Line   4.36 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                  Last 4 digits of account number
Madison                   WI      53707
City                      State   ZIP Code


Guaranty Bank/Best Bank                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Guaranty Bank - Corporate Office                  Line   4.36 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
36933 Plank Rd                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                                  Last 4 digits of account number      4    4    5    3
Oconomowoc                WI      53066
City                      State   ZIP Code


Leduc Frank (Christopher Frank)                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 2191                                       Line   4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                  Last 4 digits of account number      4    5    G    C
Roayal Oak                MI      48068
City                      State   ZIP Code


Professional Placement Services, LLC              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 612                                      Line   4.36 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                  Last 4 digits of account number
Milwaukee                 WI      53201-0612
City                      State   ZIP Code


T.L.Thompson & Associates, Inc.                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 496149                                   Line   4.39 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

                                                  Last 4 digits of account number      6    3    1    4
Garland                   TX      75049
City                      State   ZIP Code




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                                                               Who Have Unsecured 21:13:33                Page 37 of 61          page 19
Debtor 1       Cesarea C Wright                                                        Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $99,230.52


                  6j.   Total.   Add lines 6f through 6i.                                            6j.             $99,230.52




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Official Form 106E/F              Doc 1       Filed 02/10/18
                                              Schedule E/F: CreditorsEntered  02/10/18Claims
                                                                     Who Have Unsecured 21:13:33                   Page 38 of 61     page 20
 Fill in this information to identify your case:
 Debtor 1            Cesarea              C                      Wright
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Cesarea              C                      Wright
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
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 Fill in this information to identify your case:
     Debtor 1              Cesarea              C                     Wright
                           First Name           Middle Name           Last Name                           Check if this is:
     Debtor 2                                                                                                  An amended filing
     (Spouse, if filing)   First Name           Middle Name           Last Name
                                                                                                               A supplement showing postpetition
     United States Bankruptcy Court for the:   EASTERN DISTRICT OF MICHIGAN
                                                                                                               chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                               MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                            Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                           Employed
      with information about                                         Not employed                                       Not employed
      additional employers.
                                        Occupation            Clerk
      Include part-time, seasonal,
      or self-employed work.            Employer's name       United States Postal Service

      Occupation may include            Employer's address    20992 Cheyenne Court
      student or homemaker, if it                             Number Street                                      Number Street
      applies.




                                                              Macomb Township MI                    48044
                                                              City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?       5 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                           For Debtor 1            For Debtor 2 or
                                                                                                                   non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                 $3,600.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                     3.   +               $0.00

4.    Calculate gross income. Add line 2 + line 3.                                4.               $3,600.00




Official Form 106I                                       Schedule I: Your Income                                                                    page 1
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Debtor 1        Cesarea C Wright                                                                                                 Case number (if known)
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $3,600.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $589.80
     5b. Mandatory contributions for retirement plans                                                       5b.               $60.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00
     5e. Insurance                                                                                          5e.                $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00
     5g. Union dues                                                                                         5g.               $60.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $709.80
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,890.20
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00
     8e. Social Security                                                                                    8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00
     8h. Other monthly income.
         Specify: Child Support                                                                             8h. +              $71.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                 $71.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,961.20 +                      =                                                $2,961.20
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $2,961.20
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                                                 page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Cesarea                C                      Wright                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF MICHIGAN                                   MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  daughter                            15
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      son                                 7
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                     $900.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                       Schedule J: Your Expenses                                                              page 1
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Debtor 1      Cesarea C Wright                                                         Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $240.00
     6b. Water, sewer, garbage collection                                                           6b.                    $40.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                   $280.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $600.00
8.   Childcare and children's education costs                                                       8.                    $120.00
9.   Clothing, laundry, and dry cleaning                                                            9.                    $100.00
10. Personal care products and services                                                             10.                   $100.00
11. Medical and dental expenses                                                                     11.                   $130.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                   $125.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                         15a.

     15b.    Health insurance                                                                       15b.

     15c.    Vehicle insurance                                                                      15c.

     15d.    Other insurance. Specify:                                                              15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                             17a.

     17b.    Car payments for Vehicle 2                                                             17b.

     17c.    Other. Specify:                                                                        17c.

     17d.    Other. Specify:                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                    Schedule J: Your Expenses                                             page 2
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Debtor 1      Cesarea C Wright                                                                 Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.     +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.              $2,935.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.              $2,935.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.              $2,961.20
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.    –         $2,935.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                  $26.20

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                    Schedule J: Your Expenses                                                    page 3
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 Fill in this information to identify your case:
 Debtor 1                Cesarea                       C                             Wright
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................            $0.00


                                                                                                                                                                         $14,564.60
     1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................................................................


                                                                                                                                                                              $14,564.60
     1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                              $5,600.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $99,230.52
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $104,830.52




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $2,961.20
     Copy your combined monthly income from line 12 of Schedule I..............................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                 $2,935.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Cesarea C Wright                                                             Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $2,690.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Cesarea               C                  Wright
                    First Name            Middle Name        Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name        Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Cesarea C Wright                                  X
        Cesarea C Wright, Debtor 1                              Signature of Debtor 2

        Date 02/10/2018                                         Date
             MM / DD / YYYY                                             MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
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 Fill in this information to identify your case:
 Debtor 1           Cesarea               C                      Wright
                    First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       Cesarea C Wright                                                           Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                     Debtor 1                                        Debtor 2

                                                   Sources of income           Gross income         Sources of income          Gross income
                                                   Check all that apply.       (before deductions   Check all that apply.      (before deductions
                                                                               and exclusions                                  and exclusions

From January 1 of the current year until               Wages, commissions,           $14,241.29         Wages, commissions,
the date you filed for bankruptcy:                     bonuses, tips                                    bonuses, tips
                                                       Operating a business                             Operating a business


For the last calendar year:                            Wages, commissions,           $44,794.18         Wages, commissions,
                                                       bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                 Operating a business                             Operating a business


For the calendar year before that:                     Wages, commissions,                              Wages, commissions,
                                                       bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2016 )
                                  YYYY                 Operating a business                             Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 2
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Debtor 1         Cesarea C Wright                                                           Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                          total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                          child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                          Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




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Debtor 1         Cesarea C Wright                                                              Case number (if known)

  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date             Value of the property
Wayne County Treasurer                                          Parcel ID No: 22118912-4                              2/16/2017
Creditor's Name                                                 Address: 7728 West arkway, Detroit, MI
                                                                48239
400 Monroe Ave
Number      Street                                              Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
Detroit                                MI         48226            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.




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Debtor 1       Cesarea C Wright                                                            Case number (if known)

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Thornbladh Legal Group PLLC                                                                                     or transfer was     payment
Person Who Was Paid                                                                                             made

7301 Schaefer                                                                                                      03/11/2017           $500.00
Number      Street




Dearborn                      MI        48126
City                          State     ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                       Description and value of any property transferred        Date payment        Amount of
Thornbladh Legal Group PLLC                                                                                     or transfer was     payment
Person Who Was Paid                                                                                             made

7301 Schaefer                                                                                                      05/20/2017           $100.00
Number      Street




Dearborn                      MI        48126
City                          State     ZIP Code


Email or website address


Person Who Made the Payment, if Not You




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Debtor 1       Cesarea C Wright                                                             Case number (if known)

                                                      Description and value of any property transferred         Date payment         Amount of
001 Debtorcc, Inc.                                                                                              or transfer was      payment
Person Who Was Paid                                                                                             made

378 Summit Avenue                                                                                                 March 15, 2017          $14.95
Number      Street




Jersey City                   NJ        07306
City                          State     ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.




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Debtor 1       Cesarea C Wright                                                           Case number (if known)

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




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Debtor 1       Cesarea C Wright                                                                Case number (if known)

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




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Debtor 1     Cesarea C Wright                                                       Case number (if known)

 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Cesarea C Wright                                X
   Cesarea C Wright, Debtor 1                             Signature of Debtor 2

   Date      02/10/2018                                   Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 9
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                                      UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN / DETROIT DIVISION
In re:    Cesarea C Wright                                                             Case No.
                                                                                       Chapter 7
                                                                                       Hon.
                                                                                   /

                                      STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                         PURSUANT TO F.R.BANKR.P. 2016(b)
     The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:

1.   The undersigned is the attorney for the Debtor(s) in this case.

2.   The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
           FLAT FEE
     A.    For legal services rendered in contemplation of and in connection with this case, exclusive
           of the filing fee paid                                                         $600.00
     B.    Prior to filing this statement, received                                       $600.00
     C.    The unpaid balance due and payable is                                              $0.00
           RETAINER
     A.    Amount of retainer received
     B.    The undersigned shall bill against the retainer at an hourly rate of ______________. [Or attach firm hourly rate schedule.]
           Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.
        $0.00
3. ______________ of the filing fee has been paid.

4.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     [Cross out any that do not apply.]
     A. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     B. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     C. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     D. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
     E. Reaffirmations;
     F. Redemptions;
     G. Other: See retainer agreement


5.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Nonbankruptcy appearances, appeals, post-conversion, post-discharge, post-dismissal and post-closing matters.


6.   The source of payments to the undersigned was from:
         A. Debtor(s)' earnings, wages, compensation for services performed
         B. Other (describe, including the identity of payor)

7.   The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law
     firm or corporation, any compensation paid or to be paid except as follows:
     Thornbladh Legal Group PLLC



Dated:     2/10/2018                                               /s/ Kurt Thornbladh
                                                                   Kurt Thornbladh                             Bar No. P25858
                                                                   Thornbladh Legal Group PLLC
Agreed: /s/ Cesarea C Wright                                       7301 Schaefer
        Cesarea C Wright
                                                                   Dearborn, MI 48126
                                                                   Phone: (313) 943-2678 / Fax: (313) 447-2771




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                                      UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MICHIGAN
                                               DETROIT DIVISION
  IN RE:   Cesarea C Wright                                                        CASE NO

                                                                                   CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 2/10/2018                                           Signature    /s/ Cesarea C Wright
                                                                     Cesarea C Wright



Date                                                     Signature




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Account Services                  Chase                           Comcast/xfinity
1802 N. Loop 410                  Mail COde OH1-1272              One Comcast Center
Suite 400                         340 S. Cleveland Ave. Bldg. 370 Philadelphia, PA 19103
San Antonio TX 78217              Westerville OH 43081


Advance America                   CHIEF PONTIAC FEDERAL CU           COMENITY BANK / LNBRYANT
135 N Church Street               790 Joslyn Ave                     POB 182789
Spartanburg SC 29306              Pontiac, MI 48340-2918             Columbus, OH 43218-2789



Allstate Insurance Company        CHIEF PONTIAC FEDERAL CU           Congress Colletion
P.O. Box 660598                   790 Joslyn Ave                     24901 Northwestern Hwy, Ste 300
Dallas, TX 75266-0598             Pontiac, MI 4834-2918              Southfield, MI 48075-2207



American Income Life Insurance Company
                                CHIEF PONTIAC FINANCIAL FEDERAL Consumer
                                                                 CU      Energy
P.O. Box 2608                   790 Joseline Ave                1 Energy Plaza Drive
Waco, TX 76797                  Pontiac, MI 48340-2918          Jackson, MI 49201



Best Buy/ CBNA                    CHRISTIAN FIN CU                   Consumers Energy Payment Center
PO box 6497                       18441 UTICA RD                     P.O. Box 740309
Sioux Falls, SD 57117             Roseville, MI 48066-4202           Cincinnati, OH 45274-0309



Capital One Auto Finance          Christian Financial CU             Credit Collection
c/o Ascension Capital Group       18441 Utica Rd                     725 Canton Street
POB 201347                        Roseville, MI 48066-4202           Norwood, MA 02062
Arlington, TX 76006


Capital One Bank USA NA           Citibank                           Credit Collection Service
PO BOX 30281                      P.O. Box 6077                      725 Canton st,
Salt Lake City, UT 84130          Sioux Falls, SD 57117              Norwood, MA 02062



CBCS                              Comcast                            Credit One Bank
Dept 5089                         c/o Credit Management, L.P.        PO BOX 98872
Carol Stream, IL 60122-6089       4200 International Parkway         Las Vegas, NV 89193-8872
                                  Carrollton, TX 75007-1912


Cesarea C Wright                  Comcast                            Detroit Medical Center
20992 Chienne Court               c/o Credit Management, L.P.        3075 E. Imperial Hwy, Ste 200
Macomb Township, MI 48094         P.O. Box 118288                    Brea, CA 92821
                                  Carrollton, TX 75011-8288




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DIRECT LOAN SVC SYSTEM           Leduc Frank (Christopher Frank) SYNCB/OLD NAVY
PO BOX 5609                      PO Box 2191                     PO BOX 965005
Greenville, TX 75403-5609        Roayal Oak, MI 48068            Orlando, FL 328965-5005



Direct Loan SVC System           Medical Resource Group             T.L.Thompson & Associates, Inc.
PO Box 5609                      88 Sunnyside Boulevard             P.O. Box 496149
Greenville, TX 75403             Plainview, New York 11803          Garland, Texas 75049



Direct Loan SVC systems          Professional Placement Services,The
                                                                   LLCHome Depot/ Cbna
PO Box 5609                      272 N. 12th Street              PO Box 6497
Greenville, TX 75403 5609        Milwaukee, WI 5323-2604         Sioux Falls, SD 57117-6497



Direct Loan SVC Systems          Professional Placement Services,Thornbladh
                                                                   LLC      Legal Group PLLC
PO Box 5609                      P.O. Box 612                    7301 Schaefer
Greenville, TX 75403-5609        Milwaukee, WI 53201-0612        Dearborn, MI 48126



Division of Banking              Sallie Mae                         US DEPT. OF EDUCATION/GL
P.O. Box 7876                    123 Justison St 3d floor           2401 International
Madison, WI 53707                Wilmington, DE 19801               POB 7859
                                                                    Madison, WI


FEDLOAN SERVICING                ST FARM MUTUAL AUTO INS            xfinity/Comcast
POB 60610                        One State Farm Plaza               41112 Concept Drive
Harrisburg, PA 17106             Bloomington, IL 61710              Plymouth, MI 48170-4253



Fott and Heel Pain Institute of ST
                                 MI JOHN HOSPITAL
29425 Northwestern Hwy#125      PO BOX 42008
Southfield, MI 48034-1083       Phoenix, AZ 85080-2008



Guaranty Bank/Best Bank         St. John Hospital
Guaranty Bank - Corporate Office22101 Moross
36933 Plank Rd                  Detroit, MI 48236
Oconomowoc, WI 53066


Lane Bryant                      SYNCB/CARE CREDIT
P.O. Box 659728                  C/O PO BOX 965036
San Antonio, TX 78265-9728       Orlando, FL 32896-5036




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